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Levins, and all others similarly situated


                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


 ELAINE LEVINS and WILLIAM LEVINS,                            Case 1:17-cv-00928-RBK-KMW
 on behalf of themselves and others similarly
 situated,

          Plaintiffs,                                            FIRST AMENDED
                                                          CLASS ACTION COMPLAINT FOR
                        vs.                               VIOLATIONS OF THE FAIR DEBT
                                                           COLLECTION PRACTICES ACT
 HEALTHCARE REVENUE RECOVERY
 GROUP, LLC d/b/a ARS ACCOUNT                                 DEMAND FOR JURY TRIAL
 RESOLUTION SERVICES, and JOHN
 AND JANE DOES 1 THROUGH 25,

          Defendants.



       Plaintiffs, ELAINE LEVINS and WILLIAM LEVINS (“Plaintiffs” or “LEVINS”), on

their own behalf and on behalf of the class they seek to represent, bring this action for the illegal

practices of the Defendant, HEALTHCARE REVENUE RECOVERY GROUP, LLC d/b/a ARS

ACCOUNT RESOLUTION SERVICES (“HRRG”), and JOHN AND JANE DOES 1

THROUGH 25 (collectively “Defendants”), and allege the following:


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                                           I. PARTIES

       1.      ELAINE LEVINS is a natural person.

       2.      At all times relevant to this lawsuit, ELAINE LEVINS was a citizen of, and

resided in, the Borough of Laurel Springs, Camden County, New Jersey.

       3.      WILLIAM LEVINS is a natural person.

       4.      At all times relevant to this lawsuit, WILLIAM LEVINS was a citizen of, and

resided in, the Borough of Laurel Springs, Camden County, New Jersey.

       5.      At all times relevant to this complaint, HRRG is a Limited Liability Company

existing pursuant to the laws of the State of Florida.

       6.      HRRG maintains its principal business address at 1643 N. Harrison Parkway,

Building H, Suite 100, City of Sunrise, Broward County, Florida.

       7.      Defendants, JOHN AND JANE DOES NUMBERS 1 THROUGH 25, are sued

under fictitious names as their true names and capacities are yet unknown to Plaintiffs. Plaintiffs

will amend this complaint by inserting the true names and capacities of these DOE defendants

once they are ascertained.

       8.      The Plaintiffs are informed and believe, and on that basis allege, that Defendants,

JOHN AND JANE DOES NUMBERS 1 THROUGH 25, are natural persons and/or business

entities all of whom reside or are located within the United States who personally created,

instituted, and, with knowledge that such practices were contrary to law, acted consistent with,

oversaw, and engaged in the illegal policies and procedures, used by themselves and HRRG

employees that are the subject of this complaint. Those Defendants personally control and

engaged in the illegal acts, policies, and practices utilized by HRRG and, therefore, are

personally liable for all of the wrongdoing alleged in this Complaint.




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                                 II. JURISDICTION & VENUE

          9.    Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C.

§ 1331.

          10.   Venue is appropriate in this federal district pursuant to 28 U.S.C. §1391(b)

because a substantial part of the events giving rise to the Plaintiffs’ claims occurred within this

federal judicial district, and because HRRG is subject to personal jurisdiction in the State of New

Jersey at the time this action is commenced.

                              III. PRELIMINARY STATEMENT

          11.   Plaintiffs, on their own behalf and on behalf of the class they seek to represent,

bring this action for the illegal practices of Defendants which include, inter alia, using false,

deceptive, misleading, harassing, and abusive practices in connection with their attempt to

collect an alleged debt from Plaintiffs and other similarly situated consumers.

          12.   Plaintiffs allege that HRRG collection practices violate the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”).

          13.   Such collection practices include, inter alia, leaving pre-recorded telephonic

voice messages for consumers, which:

                (a)    fail to provide meaningful disclosure of HRRG’s identity;

                (b)    use false representations and deceptive means to collect or attempt

                       to collect any debt and to obtain information concerning a consumer;

                       and

                (c)    use the name of any business, company, or organization other than

                       the true name of the debt collector’s business, company, or

                       organization.




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       14.     The FDCPA regulates the behavior of collection agencies attempting to collect a

debt on behalf of another. The United States Congress has found abundant evidence of the use of

abusive, deceptive, and unfair debt collection practices by many debt collectors, and has

determined that abusive debt collection practices contribute to a number of personal

bankruptcies, marital instability, loss of jobs, and invasions of individual privacy. Congress

enacted the FDCPA to eliminate abusive debt collection practices by debt collectors, to ensure

that those debt collectors who refrain from using abusive debt collection practices are not

competitively disadvantaged, and to promote uniform State action to protect consumers against

debt collection abuses. 15 U.S.C. § 1692(a) - (e).

       15.     The FDCPA is a strict liability statute, which provides for actual or statutory

damages upon the showing of one violation. The Third Circuit has held that whether a debt

collector’s conduct violates the FDCPA should be judged from the standpoint of the “least

sophisticated consumer.” Graziano v. Harrison, 950 F.2d 107 (3d Cir. 1991).

       16.     To prohibit harassment and abuses by debt collectors the FDCPA, at 15 U.S.C.

§ 1692d, provides that a debt collector may not engage in any conduct the natural consequence

of which is to harass, oppress, or abuse any person in connection with the collection of a debt

and names a non-exhaustive list of certain per se violations of harassing and abusive collection

conduct. 15 U.S.C. § 1692d(1)-(6). Among the per se violations prohibited by that section are:

the placement of telephone calls without meaningful disclosure of the caller’s identity, 15 U.S.C.

§ 1692d(6).

       17.     To prohibit deceptive practices, the FDCPA, at 15 U.S.C. § 1692e, outlaws the

use of false, deceptive, and misleading collection letters and names a non-exhaustive list of

certain per se violations of false and deceptive collection conduct. 15 U.S.C. § 1692e(1)-(16).

Among the per se violations prohibited by that section are: using any false representation or

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deceptive means to collect or attempt to collect any debt or to obtain information concerning a

consumer, 15 U.S.C. § 1692e(10); and the use of any business, company, or organization name

other than the true name of the debt collector’s business, company, or organization, 15 U.S.C.

§ 1692e(14).

       18.      The Plaintiffs, on behalf of themselves and all others similarly situated, seek

statutory damages, attorney fees, costs, and all other relief, equitable or legal in nature, as

deemed appropriate by this Court, pursuant to the FDCPA and all other common law or statutory

regimes.

                            IV. FACTS REGARDING PLAINTIFFS

       19.      Sometime prior to August 18, 2016, Plaintiffs allegedly incurred a financial

obligation in the form of a medical debt. (“Debt”).

       20.      The Debt arose out of a transaction in which the money, property, insurance, or

services which are the subject of the transaction are primarily for personal, family, or household

purposes.

       21.      HRRG collects, and attempts to collect, defaulted medical debts incurred, or

alleged to have been incurred, for personal, family, or household purposes on behalf of creditors

using the U.S. Mail, telephone, and Internet.

       22.      On or about August 18, 2016, the unknown creditor of the Debt either directly or

through intermediate transactions assigned, placed, or transferred the Debt to HRRG for

collection.

       23.      Within the one year immediately preceding the filing of this complaint and as set

forth infra, HRRG contacted Plaintiffs and third-parties via telephone in an attempt to collect the

alleged Debt.




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       24.     HRRG is, at all times relevant to this complaint, a “debt collector” as defined by

15 U.S.C. § 1692a(6).

       25.     HRRG contends the Debt is in default.

       26.     The alleged Debt is a “debt” as defined by 15 U.S.C. § 1692a(5).

       27.     ELAINE LEVINS is, at all times relevant to this lawsuit, a “consumer” as that

term is defined by 15 U.S.C. § 1692a(3).

       28.     WILLIAM LEVINS is, at all times relevant to this lawsuit, a “consumer” as that

term is defined by 15 U.S.C. § 1692a(3).

       29.     Within the one year immediately preceding the filing of Plaintiffs’ complaint in

this action, HRRG contacted Plaintiffs via telephone on multiple occasions to collect the Debt.

       30.     Within the one year immediately preceding the filing of Plaintiffs’ complaint in

this action, HRRG left multiple pre-recorded telephonic voice messages for Plaintiffs on their

telephone voicemail system in an attempt to collect the alleged Debt (“Messages”).

       31.     The following is a transcription of the pre-recorded Messages HRRG left for

Plaintiffs during the one year period immediately preceding the filing of their complaint:

                   ARS calling. Please return our call at 1-800-694-3048. ARS is a
                   debt collector. This is an attempt to collect a debt. Any
                   information obtained will be used for that purpose. Again, our
                   number is 1-800-694-3048. Visit us at www.arspayment.com.”

       32.     The foregoing Messages may be heard by clicking on the following icon:

       33.     Each of the Messages is a “communication” as defined by 15 U.S.C. § 1692a(2).

       34.     Each of the Messages was left by persons employed as debt collectors by HRRG

in connection with the collection of a “debt” as defined by 15 U.S.C. §1692a(5).




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          35.   The Messages are identical, in that each uniformly failed to:

                (a)    Provide meaningful identification of HRRG’s identity as the caller;

                       and

                (b)    Disclose the true name of the HRRG’s business, company, or

                       organization.

          36.   At the time Plaintiffs received the Messages, they did not know the identity of

caller but they did know from their schedules in connection with a discharged debt from their

recent bankruptcy case of a debt collector named “ARS.”. The full name of that collector is ARS

National Services, Inc.—an entity wholly unrelated to HRRG. Consequently, HRRG’s use of the

name “ARS” was, without more, confusing and not meaningful.

          37.   There are numerous companies, businesses, and debt collectors who use the name

“ARS” including, but not limited to, ARS National Services, Inc., which is a California corporation

registered to transact business in the State of New Jersey, and Advanced Recovery Systems Inc.

which is a Mississippi corporation also registered to transact business in the State of New Jersey.

          38.   HRRG is not registered to use the name “ARS” in any context in the State of New

Jersey.

          39.   HRRG has not licensed the name “ARS” for use in any context in the State of New

Jersey.

          40.   HRRG has not trademarked or copyrighted the name “ARS” for use in any context.

          41.   On information and belief, by reputation the name “ARS” is, without more,

associated in the nation’s debt collection industry with ARS National Services Inc.

          42.   A Google search of “ARS” along with either word “debt” or “collector” will result

in many links to many debt collectors other than HRRG. Furthermore, a current search for




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www.arspayment.com—the URL provided in the Messages—leads to a browser privacy warning

blocking access to the website.

          43.   If one does finally access the website, www.arspayment.com—the URL provided

in the Messages—surreptitiously tracks and stores information about the persons who access the

website using a computer.

          44.   The Plaintiffs have never received any written communications from HRRG.

          45.   The telephone number 1-800-694-3048 is answered by persons who are employed

by HRRG as “debt collectors” as that term is defined by 15 U.S.C. § 1692a(6)

          46.   The only way for Plaintiffs and/or a least sophisticated consumer to obtain the

identity of the caller, and to ascertain the purpose underlying the Messages, is to place a return

call to the telephone number provided in the Messages and speak with a debt collector employed

by HRRG, and then provide that debt collector with personal information.

          47.   Consequently, HRRG’s Messages failed to meaningfully identify HRRG as the

caller.

          48.   HRRG intended that the Messages have the effect of causing Plaintiffs and other

least sophisticated consumers to place return calls to the telephone number provided in the

Messages and speak with its debt collectors as the sole means of obtaining the identity of the

caller leaving the Messages, and to ascertain the purpose underlying the Messages.

          49.   Scores of federal court decisions—including the 11th Circuit Court of Appeals

and District of New Jersey—uniformly hold that the FDCPA requires debt collectors to provide

meaningful identification of itself in telephonic voice messages left for consumers, by accurately

stating the true name of the debt collection company and the nature and/or purpose of the call.

          50.   At all times relevant to this action, HRRG was aware of the substantial weight of

legal authority requiring it to provide meaningful identification of itself in telephonic voice

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messages left for consumers, such as the Messages, by accurately stating its true company name,

stating the nature and/or purpose of the call, and disclosing that it is a debt collector.

        51.     At all times relevant to this action, HRRG willfully, deliberately, and intentionally

chose not to provide meaningful identification of itself in telephonic voice messages left for

consumers, such as the Messages, by accurately stating its true company name and stating the

nature and/or purpose of the call.

        52.     HRRG’s act of leaving the Messages for Plaintiffs is conduct the natural

consequences of which is to harass, oppress, or abuse a person in connection with the collection

of a debt and is in violation of the FDCPA.

        53.     HRRG’s act of leaving the Messages constitutes the use of a false, deceptive, or

misleading representation or means in connection with the collection of any debt and is in

violation of the FDCPA.

        54.     The FDCPA secures a consumer’s right to have a debt collector cease further

communications with the consumer. By failing to meaningfully identify itself, HRRG has

engaged in conduct designed to deprive consumers of their right to have a debt collector cease

further communications without providing their personal information.

                      V. POLICIES AND PRACTICES COMPLAINED OF

        55.     It is HRRG’s policy and practice to leave telephonic voice messages for

consumers and other persons, such as the Messages, that violate the FDCPA by, inter alia:

                (a)     Failing to provide meaningful disclosure of HRRG’s identity;

                (b)     Using false representations and deceptive means to collect or

                        attempt to collect any debt and to obtain information concerning a

                        consumer; and

                (c)     Using the name of any business, company, or organization other

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                       than the true name of the debt collector’s business, company, or

                       organization.

       56.     On information and belief, the Messages, as alleged in this complaint under the

Facts Concerning Plaintiffs, number in the thousands.

                                 VI. CLASS ALLEGATIONS

       57.     This action is brought as a class action. Plaintiffs bring this action on behalf of

themselves and on behalf of all other persons similarly situated pursuant to Rule 23 of the

Federal Rules of Civil Procedure.

       58.     This claim is brought on behalf of a class of all persons with addresses in the State

of New Jersey for whom HRRG left a telephonic voice message in an attempt to collect a debt,

which simply identified the caller as “ARS” instead of its true company name, during the period

beginning February 12, 2016, and ending March 12, 2017.

       59.     The identities of all class members are readily ascertainable from HRRG’s

business records and the records of those businesses and third-party entities on whose behalf it

attempts to collect debts.

       60.     Excluded from the Class are HRRG and all officers, members, partners,

managers, directors, and employees of HRRG and their respective immediate families, and legal

counsel for all parties to this action and all members of their immediate families.

       61.     There are questions of law and fact common to the Class, which common issues

predominate over any issues involving only individual class members. The principal issues are

whether HRRG’s telephonic voice messages, in the form of the Messages, violate 15 U.S.C.

§§ 1692d, 1692d(6), 1692e, 1692e(10), and 1692e(14).

       62.     The Plaintiffs’ claims are typical of the class members, as all are based upon the

same facts and legal theories.

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       63.     The Plaintiffs will fairly and adequately protect the interests of the Class defined

in this complaint. The Plaintiffs have retained counsel with experience in handling consumer

lawsuits, complex legal issues, and class actions, and neither the Plaintiffs nor their attorneys

have any interests, which might cause them not to vigorously pursue this action.

       64.     This action has been brought, and may properly be maintained, as a class action

pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a

well-defined community interest in the litigation:

               (a)     Numerosity: The Plaintiffs are informed and believe, and on that basis

                       allege, that the Class defined above is so numerous that joinder of all

                       members would be impractical.

               (b)     Common Questions Predominate: Common questions of law and fact

                       exist as to all Class members and those questions predominate over any

                       questions or issues involving only individual class members. The principal

                       issues are whether HRRG’s telephonic voice messages, in the form of the

                       Messages, violate 15 U.S.C. §§ 1692d, 1692d(6), 1692e, 1692e(10), and

                       1692e(14).

               (c)     Typicality: The Plaintiffs’ claims are typical of the claims of the class

                       members. Plaintiffs and each Class Member have claims arising out of

                       HRRG’s common uniform course of conduct complained of herein.

               (d)     Adequacy: The Plaintiffs will fairly and adequately protect the interests of

                       the class members insofar as Plaintiffs have no interests that are averse to

                       absent class members. The Plaintiffs are committed to vigorously litigating

                       this matter. Plaintiffs have also retained counsel experienced in handling

                       consumer lawsuits, complex legal issues, and class actions. Neither the

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                       Plaintiffs nor their attorneys has any interests which might cause them not

                       to vigorously pursue the instant class action lawsuit.

               (e)     Superiority: A class action is superior to the other available means for the

                       fair and efficient adjudication of this controversy because individual joinder

                       of all members would be impracticable. Class action treatment will permit

                       a large number of similarly situated persons to prosecute their common

                       claims in a single forum efficiently and without unnecessary duplication of

                       effort and expense that individual actions would engender.

       65.     Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil

Procedure is appropriate in that the questions of law and fact common to members of the Class

predominate over any questions affecting an individual member, and a class action is superior to

other available methods for the fair and efficient adjudication of the controversy.

       66.     Based on discovery and further investigation (including, but not limited to,

Defendants’ disclosure of class size and net worth), Plaintiffs may, in addition to moving for

class certification using modified definitions of the Class, Class Claims, and the class period, and

seek class certification only as to particular issues as permitted under Fed. R. Civ. P. 23(c)(4).

                       VII. FIRST CAUSE OF ACTION
         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

       67.     Plaintiffs reallege and incorporate by reference the allegations in the preceding

paragraphs of this Complaint.

       68.     HRRG violated the FDCPA. HRRG’s violations with respect to the Messages

include, but are not limited to, the following:

       (a)     Engaging in conduct the natural consequence of which is to harass, oppress, or

               abuse any person in connection with the collection of a debt in violation of 15



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                   U.S.C. § 1692d;

       (b)         Placing telephone calls without providing meaningful disclosure of HRRG’s

                   identity as the caller in violation of 15 U.S.C. § 1692d(6);

       (c)         Using a false representation or deceptive means to collect or attempt to collect any

                   debt or to obtain information concerning a consumer, which constitutes a violation

                   of 15 U.S.C. §§ 1692e and 1692e(10); and

       (d)         Using the name of any business, company, or organization other than the true name

                   of HRRG’s business, company, or organization, which constitutes a violation of 15

                   U.S.C. §§ 1692e and 1692e(14).

                                     VIII. PRAYER FOR RELIEF

       69.         WHEREFORE, Plaintiffs respectfully request the Court enter judgment in their

favor and in favor of the Class as follows:

For the FIRST CAUSE OF ACTION:

             (i)       An order certifying that the First Cause of Action may be maintained as a class

                       pursuant to Rule 23 of the Federal Rules of Civil Procedure and appointing

                       Plaintiffs and the undersigned counsel to represent the Class defined above.

             (ii)      An award of statutory damages for Plaintiffs and the Class pursuant to 15

                       U.S.C. § 1692k(a)(2)(B);

             (iii)     An incentive award for Plaintiffs in recognition of their services on behalf of

                       the Class in an amount to be determined by the Court;

             (iv)      Attorney’s fees, litigation expenses, and costs pursuant to 15 U.S.C.

                       § 1692k(a)(3); and

             (v)       For such other and further relief as may be just and proper.




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                                     IX. JURY DEMAND

       Plaintiffs hereby demand that this case be tried before a Jury.


                                                  s/ Philip D. Stern
Dated: April 12, 2017                             Philip D. Stern
                                                  STERN•THOMASSON LLP

                                                  s/ Andrew T. Thomasson
                                                  Andrew T. Thomasson
                                                  STERN•THOMASSON LLP

                                                  s/ Daniel A. Frischberg
Dated: April 12, 2017                             Daniel A. Frischberg, Esq.
                                                  LAW OFFICE OF ANDREW B. FINBERG, LLC

                                                  Attorneys for Plaintiffs and all others similarly
                                                  situated




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            X. CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 11.2

       I, Daniel A. Frischberg, Philip D. Stern, and Andrew T. Thomasson hereby certify that to

the best of my knowledge the matter in controversy is not the subject of any other action pending

in any court or the subject of a pending arbitration proceeding, nor is any other action or

arbitration proceeding contemplated. I further certify that I know of no party, other than putative

class members, who should be joined in the action at this time.

       In accordance with 28 U.S.C. §1746, I certify under penalty of perjury under the laws of
the United States of America that the foregoing is true and correct.


                                                   s/ Philip D. Stern
Dated: April 12, 2017                              Philip D. Stern
                                                   STERN•THOMASSON LLP

                                                   s/ Andrew T. Thomasson
                                                   Andrew T. Thomasson
                                                   STERN•THOMASSON LLP

                                                   s/ Daniel A. Frischberg
Dated: April 12, 2017                              Daniel A. Frischberg, Esq.
                                                   LAW OFFICE OF ANDREW B. FINBERG, LLC

                                                   Attorneys for Plaintiffs and all others similarly
                                                   situated




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